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5
6    Attorney for Defendant
     SALVADOR ESTRELLA NARANJO
7
8
9                      IN THE UNITED STATES DISTRICT COURT

10                   FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,       ) Case No. 2:15-CR-0208 JAM
                                     )
13           Plaintiff,              )
                                     ) STIPULATION AND ORDER
14                   v.              ) CONTINUING STATUS CONFERENCE
                                     ) AND EXCLUDING TIME
15   CARLOS SALCEDO and              )
     SALVADOR ESTRELLA NARANJO,      )
16                                   ) Date:   November 17, 2015
             Defendants.             ) Time:   9:15 a.m.
17                                   ) Judge: Hon. John A. Mendez

18
19           It is hereby stipulated and agreed between plaintiff,

20   United States of America, and defendants, Carlos Jairo Gallardo

21   Salcedo and Salvador Estrella Naranjo, that the status
22   conference scheduled for November 17, 2015, may be continued to

23   January 12, 2016, at 9:15 a.m.

24           The government provided discovery to defense counsel last
25   week.    There is extensive audio and video evidence to review.

26   Counsel need additional time to review discovery and to

27   determine whether investigation is warranted before the case is
28   further scheduled.    The parties therefore agree that the status

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1    conference should be continued to January 12, 2016, and ask the

2    Court to order time excluded under the Speedy Trial Act through

3    that date in order to afford necessary time for effective

4    preparation.   The parties agree that the interests of justice to

5    be served by a continuance outweigh the best interests of Mr.

6    Salcedo, Mr. Naranjo, and the public in a speedy trial, and ask

7    the Court to order time excluded pursuant to 18 U.S.C. §

8    3161(h)(7)(A) and (b)(iv).

9                                      Respectfully Submitted,

10                                     HEATHER E. WILLIAMS
                                       Federal Defender
11
12   Dated:   November 12, 2015        /s/ T. Zindel__________________
                                       TIMOTHY ZINDEL
13                                     Assistant Federal Defender
                                       Attorney for SALVADOR NARANJO
14
15   Dated:   November 12, 2015        /s/ T. Zindel for C. Jimenez
                                       CLEMENTE JIMENEZ
16                                     Attorney for CARLOS SALCEDO

17                                     BENJAMIN WAGNER
                                       United States Attorney
18
19   Dated:   November 12, 2015        /s/ T. Zindel for C. Highsmith
                                       CHRISTIAAN HIGHSMITH
20                                     Assistant U.S. Attorney

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1                                    O R D E R

2         The status conference is continued to January 12, 2016, at

3    9:15 a.m.   The court finds that the ends of justice served by

4    granting a continuance outweigh the best interests of the public

5    and the defendants in a speedy trial for the reasons stated

6    above.   Time is therefore excluded from the date of this order

7    through January 12, 2016, pursuant to 18 U.S.C. § 3161(h)(7)(A)

8    and (B)(iv).

9         IT IS SO ORDERED.

10
     Dated:   November 12, 2015        /s/ John A. Mendez________________
11                                     HON. JOHN A. MENDEZ
                                       United States District Court Judge
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